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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. 3:14-cv-02058-JST

                                   9                                                        Master Case No. C-07-5944 JST
                                        This Order Relates To:
                                  10
                                        CRAGO d/b/a DASH COMPUTERS, INC.,                   ORDER EXTENDING DEADLINE FOR
                                  11    et al., on its own behalf and on behalf of          SEALING MOTION DECLARATIONS
                                  12    similarly situated parties,
Northern District of California
 United States District Court




                                  13                                Plaintiff,

                                  14    v.
                                  15
                                        MITSUBISHI ELECTRIC
                                  16    CORPORATION, et al.,

                                  17                                Defendants.

                                  18
                                  19          The Mitsubishi Defendants filed an “Administrative Motion to File Under Seal Pursuant to
                                  20   Civil Local Rules 7-11 and 79-5.” ECF No. 4627 (“Sealing Motion”). In it, they mistakenly
                                  21   identified the Direct Purchaser Plaintiffs as the Designating Party under Civil Local Rule 79-5(e).
                                  22   However, the correct Designating Parties are the SDI Defendants, the Hitachi Defendants,
                                  23   Defendant Chunghwa Picture Tubes, Ltd., the Panasonic Defendants, the Philips Defendants, and
                                  24   the Toshiba Defendants. See ECF No. 4650 at 3. These latter parties were not provided copies of
                                  25   the materials proposed to be sealed or placed on notice that they needed to file declarations. It is
                                  26   their interests that might be harmed if the Court denies the Sealing Motion for lack of support.
                                  27          To avoid this unfairness, the Mitsubishi Defendants now request that the proper
                                  28   Designating Parties be given an opportunity to file declarations. The Court agrees. The
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                                   1   Mitsubishi Defendants are ordered to provide all materials otherwise required by Civil Local Rule

                                   2   79-5(e) to the correct Designating Parties no later than May 13, 2016, and file a proof of service

                                   3   on the Court’s docket. The deadline for responses from the proper Designating Parties is extended

                                   4   to May 19, 2016.

                                   5          IT IS SO ORDERED.

                                   6   Dated: May 12, 2016
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                   8                                                           United States District Judge

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Northern District of California
 United States District Court




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